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                           Exhibit A
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -------------------------------------------------------------------------------X
   BASIL SEGGOS, as Commissioner of the New York State
                                                                                      Civil Action No.:
   Department of Environmental Conservation and Trustee of New
                                                                                      2:17-CV-2684
   York State’s Natural Resources, and the STATE OF NEW YORK,
                                                                                      (MKB/LB)
                                               Plaintiffs,
                                                                                      FIRST SUPPLEMENTAL
                                                                                      CONSENT DECREE
                    -against-

   THOMAS DATRE, JR.; CHRISTOPHER GRABE; 5 BROTHERS
   FARMING CORP.; DAYTREE AT CORTLAND SQUARE INC.;
   IEV TRUCKING CORP.; COD SERVICES CORP.; ALL ISLAND
   MASONRY & CONCRETE, INC.; BUILDING DEV CORP.;
   DIMYON DEVELOPMENT CORP.; NEW EMPIRE BUILDER
   CORP.; CIPRIANO EXCAVATION INC.; TOUCHSTONE
   HOMES LLC; SAMS RENT AND CONSTRUCTION; SAM’S
   RENT, INC.; NEW YORK MAJOR CONSTRUCTION INC.;
   EAST COAST DRILLING NY INC.; TRITON CONSTRUCTION
   COMPANY, LLC; SUKRAM AND SONS LTD.; M & Y
   DEVELOPERS, INC.; “JOHN DOE”; ATRIA BUILDERS, LLC;
   WOORI CONSTRUCTION INC.; PLUS K CONSTRUCTION
   INC.; NY FINEST ENTERPRISES INC.; MONACO
   CONSTRUCTION CORP.; ALEF CONSTRUCTION INC.; 158
   FRANKLIN AVE. LLC; LUCIANO’S CONSTRUCTION, INC.;
   ILE CONSTRUCTION GROUP, INC.; EAST END MATERIALS,
   INC.; SPARROW CONSTRUCTION CORP.; CIANO
   CONCRETE CORP.; FREEDOM CITY CONTRACTING CORP.;
   and TOTAL STRUCTURE SERVICES INC.,

                                                Defendants.
   -------------------------------------------------------------------------------X

           Plaintiffs Basil Seggos (“Seggos”), as Commissioner of the New York State Department

   of Environmental Conservation (“DEC”) and Trustee of New York State’s Natural Resources, and

   the State of New York (Seggos and the State of New York, together, the “State”), agree as follows

   with the following parties:




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          •   Atria Builders, LLC (“Atria”);

          •   Monaco Construction Corp.; Alef Construction Inc.; and 158 Franklin Ave. LLC

              (collectively, the “158 Franklin Ave. Defendants); and

          •   Triton Construction Company, LLC (“Triton”)

      (Atria, the 158 Franklin Ave. Defendants, and Triton collectively, “Settling Defendants”):

          WHEREAS, on May 4, 2017, the State commenced this action pursuant to the

   Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) and

   New York common law, seeking damages for injury to, destruction of, and loss of New York’s

   natural resources (“natural resource damages”) caused by the alleged release of hazardous

   substances at Roberto Clemente Park in Brentwood, Long Island, New York (the “Park”);

          WHEREAS, the State alleged in its complaint that Settling Defendants, among others, are

   liable to the State for natural resource damages at the Park, pursuant to CERCLA §§ 107(a)(3) and

   113(g)(1), 42 U.S.C. §§ 9607(a)(3), 9613(g)(1), and that Settling Defendants are also liable to the

   State for common law negligence and for a public nuisance under the common law and Real

   Property Actions and Proceedings Law (“RPAPL”) § 841;

          WHEREAS, during the pendency of this lawsuit, and without any admission of liability,

   the State and Settling Defendants engaged in settlement discussions regarding the State’s claims;

          WHEREAS, the State and Settling Defendants (each a “Party” and together, the “Parties”)

   desire to enter into this Consent Decree to fully and finally resolve all claims that have been and

   could now or hereafter be asserted by the Parties with respect to the Matters Addressed, as defined

   below, without the necessity or further expense of prolonged and complex litigation, and without

   admission of liability, adjudication, or determination of any issue of fact or law;




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          WHEREAS, the State has determined that settlement of its claims against Settling

   Defendants in accordance with the terms set forth below is practicable and in the best interest

   of the public;

          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED BY AND

   BETWEEN THE UNDERSIGNED AS FOLLOWS:

                      PURPOSE AND SCOPE OF THIS CONSENT DECREE

          1.        The purpose of this Consent Decree is to resolve claims set forth in the State’s

   complaint and any other claims which could have been made by the State against Settling

   Defendants with regard to the Matters Addressed, defined in paragraph 2 below; to release Settling

   Defendants from liability for the Matters Addressed; and to provide full and complete contribution

   protection to Settling Defendants with regard to the Matters Addressed, pursuant to CERCLA §

   113(f)(2), 42 U.S.C. § 9613(f)(2).

          2.        “Matters Addressed,” as that term is used in this Consent Decree, means the

   State’s claims for damages and costs which were asserted in its complaint.

                                            JURISDICTION

          3.        This Court has jurisdiction over the subject matter of this action pursuant to 28

   U.S.C. § 1331 and 42 U.S.C. § 9613(b). Settling Defendants hereby waive all objections and

   defenses they may have to the jurisdiction of the Court or to venue in this District. The Court

   shall have continuing jurisdiction to enforce the terms of this Consent Decree and to resolve

   any disputes that may arise hereunder.

                                           PARTIES BOUND

          4.        As of its effective date, this Consent Decree shall apply to, and be binding upon,

   the State, including its departments, agencies, and instrumentalities, and shall apply to and be


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   binding upon Settling Defendants and their respective agents, successors, representatives, insurers,

   affiliates and assigns. Each signatory represents that he or she is fully and legally authorized to

   enter into the terms and conditions of this Consent Decree and to bind the party on whose behalf

   he or she signs.

                                             DEFINITIONS

          5.      Unless otherwise expressly defined herein, terms used in this Consent Decree that

   are defined in CERCLA or in regulations promulgated under CERCLA shall have the meaning

   assigned to them in CERCLA or in such regulations.

                        DISCLAIMER OF ADMISSIONS AND DENIALS

          6.      Nothing in this Consent Decree shall constitute, or be construed as an admission or

   adjudication of liability on any issue of law or fact.

          7.      Nothing in this Consent Decree shall constitute evidence that natural resource

   damages are divisible or can be apportioned among any defendants in this action.

          8.      Settling Defendants are entering into this Consent Decree as a compromise of

   disputed claims and in doing so do not admit any liability, wrongdoing, or fault under any of the

   claims alleged against them in the complaint.

                      PAYMENT OF NATURAL RESOURCE DAMAGES

          9.      Atria shall pay the total amount of $90,000 to the State as follows: (1) an initial

   payment of $20,000 within 30 days of the effective date of this decree as defined below; (2) a

   payment of $23,334 within 170 days thereafter; (3) a payment of $23,333 within 170 days

   thereafter; and (4) a final payment of $23,333 within 170 days thereafter.

          10.     The 158 Franklin Ave. Defendants shall pay the total amount of $58,439 to the

   State as follows: (1) $14,610 within 30 days after the effective date of this decree as defined below;


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   (2) a payment of $14,610 within 4 months thereafter; (3) a payment of $14,610 within 4 months

   thereafter; and (4) a final payment of $14,609 within 4 months thereafter.

          11.     Triton shall pay the total amount of $108,505.00 to the State within thirty (30) days

   of the effective date of this decree, as defined below.

          12.     The payments set forth above shall be made according to wire instructions to be

   provided by the State.

          13.     At the time payment is remitted, each Settling Defendant shall provide written

   electronic notice of the remittance in accordance with paragraph 23 below. Failure to make the

   payments required in paragraphs 9, 10, and 11 in the time periods specified therein shall constitute

   a default under this decree by the Party that fails to make the required payment, but not by the

   other Settling Defendant(s). In the event of such default, the State shall send written notice of the

   default to the defaulting Settling Defendant(s). Such notice shall be sent via certified mail and

   electronic mail to the Settling Defendant(s) in default at the addresses noted below. The Settling

   Defendant(s) in default shall have thirty (30) days from the date of mailing to cure the default by

   payment of the amount originally due. If the Settling Defendant(s) in default fail(s) to cure the

   default within that thirty (30) day period, the State shall be entitled (but not required) to demand

   the following: (1) interest of 12% per annum on the amount in default running from the original

   date of default; and (2) civil penalties in the amount of $100/day running from the original date of

   default. The defaulting Settling Defendant(s) shall pay attorneys’ fees and costs incurred by the

   State after the thirty (30) day period for curing the default to enforce those provisions.

          14.     The payment terms under this Consent Decree represent a fair and reasonable

   contribution by Settling Defendants toward the alleged natural resource damages at the Park. The

   Parties agree, and this Court by entering this Consent Decree finds, that this Consent Decree has


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   been negotiated in good faith, that settlement of this matter will avoid prolonged and complicated

   litigation, and that this Consent Decree is fair, reasonable, and in the public interest.

                          COVENANTS NOT TO SUE AND RELEASE

          15.     Covenant Not to Sue and Release of Settling Defendants by the State.

   Provided that a Settling Defendant complies with all terms of this Consent Decree, and subject

   to the reopener in paragraph 22 of this Consent Decree, the State releases and covenants not to

   sue, execute judgment, or take any civil, judicial, or administrative action under any federal,

   state, local, or common law (other than enforcement of this Consent Decree) against that

   Settling Defendant or its former, current and future assigns, agents, officers, directors, employees,

   attorneys, representatives, predecessors, successors, parent companies, subsidiaries, divisions,

   operating units, and affiliates for any matter arising out of or relating to the Matters Addressed in

   this Consent Decree including, without limitation, any claims or causes of action for natural

   resource or other damages, response costs, enforcement costs, interest, indemnification,

   contribution, or attorneys’ fees.

          16.     Covenant Not to Sue and Release of the State by Settling Defendants.

   Provided that the State complies with all of the terms of this Consent Decree, Settling

   Defendants release and covenant not to sue, execute judgment, or take any civil, judicial, or

   administrative action under any federal, state, local, or common law (other than enforcement

   of this Consent Decree) against the State, or its employees, departments, agencies, or

   instrumentalities, or to seek against the State any damages, contribution, or attorneys’ fees

   arising out of or relating to any of the Matters Addressed in this Consent Decree; provided,

   however, that if the State, pursuant to the reopener, asserts a claim or commences or continues a

   cause of action against any Settling Defendant(s) with respect to the Park, other than to enforce


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   the obligations contained in this Consent Decree, this paragraph 16 shall not preclude the assertion

   by such Settling Defendant(s) of any claims, counterclaims, defenses (including, but not limited

   to the statute of limitations), or other causes of action against the State. Notwithstanding the

   foregoing, Settling Defendants may assert any claims or causes of action against any person

   other than the State, to the extent permitted by law, for any damages, contribution, or attorneys’

   fees arising out of any of the Matters Addressed in this Consent Decree.

                                 CONTRIBUTION PROTECTION

          17.     In consideration of Settling Defendants’ compliance with this Consent Decree,

   the Parties agree that Settling Defendants are entitled, as of the effective date of this Consent

   Decree, to the full extent of protection from contribution actions, claims or cross-claims as

   provided by CERCLA § 113(f)(2), 42 U.S.C. § 9613(f)(2), the Uniform Comparative Fault

   Act, and any other applicable provision of federal or state law, whether by statute or common

   law, extinguishing the potential liability of Settling Defendants to persons not party to this

   Consent Decree for the Matters Addressed. As provided under CERCLA § 113(f), 42 U.S.C. §

   9613(f) and New York General Obligations Law § 15-108, and to the extent authorized under any

   other applicable law, as of the effective date, Settling Defendants shall be deemed to have resolved

   their liability to the State under applicable law including, without limitation, CERCLA, the New

   York State Environmental Conservation Law, RPAPL § 841, and common law, for purposes of

   contribution protection and with respect to the Matters Addressed pursuant to and in accordance

   with this Consent Decree.

          18.     Any rights Settling Defendants may have to obtain contribution or otherwise

   recover costs or damages from persons not party to this Consent Decree are preserved. In




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   addition, all claims and defenses of Settling Defendants with respect to all persons other than

   the State are expressly reserved.

                              DISMISSAL OF THE STATE’S CLAIMS
                               AND RETENTION OF JURISDICTION

          19.     All claims asserted by the State in its complaint against Settling Defendants are

   hereby dismissed with prejudice.

          20.     For purposes of entry and enforcement of this Consent Decree, the parties to this

   Consent Decree agree that the Court has jurisdiction in this matter and shall retain jurisdiction until

   Settling Defendants have fulfilled their obligations hereunder.

                         EFFECT ON LIABILITY OF OTHER PARTIES

          21.     Nothing in this Consent Decree is intended as a release of, or covenant not to sue

   with respect to, any person or entity other than Settling Defendants or their respective agents,

   successors, representatives, insurers, assigns, agents, officers, directors, employees, attorneys,

   representatives, predecessors, successors, parent companies, subsidiaries, divisions, operating

   units, and affiliates, and the State expressly reserves its rights to assert in a judicial or

   administrative forum any claim or cause of action, past or future, in law or in equity, that the State

   may have against any other person, firm, corporation, or other entity.

                                               REOPENER

          22.     Notwithstanding any other provision of this decree and any release, discharge, or

   covenant not to sue that Settling Defendants may receive from the State, the State reserves, and

   this decree is without prejudice to, the right of the State to institute proceedings seeking to compel

   any Settling Defendant to reimburse the State for additional natural resource damages relating to

   dumping at the Park for which that Settling Defendant is liable, but only if, after the effective date,

   contaminants previously unknown to the State, and which were not discovered by the State within
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   the meaning of 42 U.S.C. § 9613(g)(1)(A) before the effective date, are discovered to have been

   dumped at the Park and from which additional natural resource damages have been incurred

   beyond those asserted in the complaint. This paragraph shall not serve to toll or otherwise affect

   any other defense, including the statute of limitations, to which a Settling Defendant may otherwise

   be entitled with respect to any reserved potential claims.

                                            NOTIFICATIONS

          23.     Any notification to the State and Settling Defendants shall be in writing or

   electronic mail and shall be deemed properly given if sent to the following (or to such other

   addresses as the parties may specify):

                  As to Atria :
                  Elizabeth Knauer
                  Sive, Paget & Riesel P.C.
                  560 Lexington Avenue
                  New York, New York 10022
                  (646) 378-7272
                  eknauer@sprlaw.com

                  As to Monaco Construction Corp.
                  James J. Periconi
                  Periconi, LLC
                  260 Madison Avenue, 8th Floor
                  New York, New York 10016
                  (212) 213-5500
                  jpericoni@periconi.com

                  As to Alef Construction Inc. and 158 Franklin Ave. LLC
                  Israel Kamionka
                  4111 18th Avenue
                  Brooklyn, New York 11218
                  (917) 776-4998
                  mordycg@yahoo.com

                  As to Triton:
                  David Westermann, Jr.
                  Westermann Sheehy Keenan Samaan & Aydelott, LLP
                  The Omni Building, Suite 702
                  333 Earle Ovington Blvd.
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                 Uniondale, New York 11553
                 (516) 794-7500
                 davidwestermann@westerlaw.com

                 As to the State:
                 Matthew J. Sinkman
                 New York State Department of Law
                 Environmental Protection Bureau
                 28 Liberty Street, 19th Floor
                 New York, New York, 10005
                 (212) 416-8446
                 Matthew.Sinkman@ag.ny.gov

                 and

                 Andrew Guglielmi
                 Office of the General Counsel
                 New York State Department of Environmental Conservation
                 625 Broadway
                 Albany, New York 12207
                 (518) 402-9188
                 Andrew.Guglielmi@dec.ny.gov

          Notification of the payment of natural resource damages made pursuant to paragraphs

   9, 10, and 11 above shall also be sent via electronic mail by the State to:

                 Karen Diligent
                 Cost Recovery Section, Bureau of Program Management
                 Division of Environmental Remediation
                 New York State Department of Environmental Conservation
                 625 Broadway, 12th Floor
                 Albany, New York 12233
                 (518) 402-9764
                 Karen.Diligent@dec.ny.gov

                          COMPLETE AGREEMENT/SIGNATURES

          24.    This Consent Decree constitutes the complete agreement of the parties. This

   Consent Decree may not be amended, modified, supplemented, or otherwise changed without

   approval of this Court and the written consent of both the State and Settling Defendant. This

   Consent Decree may be signed in counterparts.


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                                         EFFECTIVE DATE

          25.     This Consent Decree shall become effective on the date that it is entered by the

   Court. All times for performance of activities under this decree shall be calculated from that date.

         AGREED TO BY:

         Dated: New York, New York                          Dated: ________, New York
                      10 2021
                March __,                                          March __, 2021

         BASIL SEGGOS, as COMMISSIONER OF                   ATRIA BUILDERS, LLC
         THE NEW YORK STATE DEPARTMENT
         OF ENVIRONMENTAL CONSERVATION                      By:    __________________________
         and TRUSTEE OF NEW YORK STATE’S                    Name: __________________________
         NATURAL RESOURCES, and the STATE                   Title: __________________________
         OF NEW YORK

                /s/ Matthew J. Sinkman
         By:____________________________________________
         Name: Matthew J. Sinkman
         Title: Assistant Attorney General


         Dated: ________, New York                          Dated: ________, New York
                March __, 2021                                     March __, 2021

         ALEF CONSTRUCTION INC.                             158 FRANKLIN AVE. LLC

         By:    __________________________                  By:    __________________________
         Name: __________________________
                     Israel Kamionka                        Name: __________________________
                                                                      Israel Kamionka

         Title: __________________________
                       President                            Title: __________________________
                                                                       Managing Agent




         Dated: ________,
                Brooklyn
                           New York                         Dated: ________,
                                                                   Brooklyn
                                                                              New York
                March __,8 2021                                    March __,8 2021

         TRITON CONSTRUCTION COMPANY, LLC                   MONACO CONSTRUCTION CORP.

         By:    __________________________                  By:    __________________________
         Name: __________________________                   Name: __________________________
         Title: __________________________                  Title: __________________________


                                           SO ORDERED:

                                 _______________________________
                                 SANDRA J. FEUERSTEIN, U.S.D.J.
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              /s/ Matthew J. Sinkman
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             /s/ Matthew J. Sinkman
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              /s/ Matthew J. Sinkman
